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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )            8:07CR392
                    Plaintiff,                   )
                                                 )
      vs.                                        )             ORDER
                                                 )
LAURO MARQUEZ,                                   )
                                                 )
                    Defendant.                   )




      This matter is before the court following the notice of the suspension from practice
of law of William L. Switzer, Jr. , by the Nebraska Supreme Court on June 13, 2008. State
ex rel. Counsel for Dis. v. Switzer, 275 Neb. 881.
      Donald L. Schense,1304 Galvin Road South, Bellevue, NE 68005, (402) 291-8778,
is appointed to represent Lauro Marquez (Marquez) for the balance of these proceedings
pursuant to the Criminal Justice Act. Mr. Switzer shall forthwith provide Mr. Schense with
the discovery materials provided the defendant by the government and such other
materials obtained by Mr. Switzer which are material to Marquez’s defense.
      The clerk shall provide a copy of this order to the Office of the Federal Public
Defender.


      IT IS SO ORDERED.
      DATED this 13th day of June, 2008.


                                                 BY THE COURT:
                                                 s/ Thomas D. Thalken

                                                 United States Magistrate Judge
